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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
v. 24-CR-126-JLS
JESHUA LION MYERS a/k/a Dually,

Defendant.

INFORMATION
(Title 18, United States Code, Section 933(a)(3))
COUNT 1
The United States Attorney Charges That:

Beginning in or about December 2023, and continuing to on or about February 13,

2024, in the Western District of New York, and elsewhere, the defendant, JESHUA LION
MYERS a/k/a Dually, conspired with others, known and unknown, to ship, transport,
transfer, cause to be transported, and otherwise dispose of firearms to another person, in or
otherwise affecting interstate and foreign commerce, having reasonable cause to believe that
the use, carrying, and possession of the firearms by the other person would constitute a felony.

All in violation of Title 18, United States Code, Sections 933(a)(1) and 933(a)(3).

FORFEITURE ALLEGATION:
The United States Attorney Alleges That:
Upon conviction of Count 1 of this Information, the defendant, JESHUA MYERS,
shall forfeit to the United States, all his right, title, and interest in any property constituting,

or derived from, proceeds obtained, directly or indirectly, as a result of said violation, and/or
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any of the defendant's property used, or intended to be used, in any manner or part, to commit,
or to facilitate the commission of such violation, including but not limited to:

MONETARY AMOUNT

The sum of approximately thirty-eight thousand dollars ($38,000.00) in
United States currency, or an amount to be determined by the Court,
which sum of money is equal to the total amount of proceeds obtained
as a result of the defendant’s violation of Title 18, United States Code,
Section 933. In the event that the above sum is not available, then a
forfeiture money judgment for the same amount will be entered against
the defendant.

If any of the property described above as being subject to forfeiture, as a result of any
act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence,

(b) has been transferred or sold to, or deposited with, a third person,

(c) has been placed beyond the jurisdiction of the Court,

(d) has been substantially diminished in value, or

(e) has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to
Title 21, United States Code, Section 853(p).

All pursuant to Title 18, United States Code, Sections 934(a)(1)(A) and
934(a)(1)(B), and Title 21, United States Code, Section 8$53(p).

DATED: Buffalo, New York, October 6 , 2024.

TRINI E. ROSS
United States Attorney

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